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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION


 SMARTMATIC USA CORP.,                                )   CASE NO. 2:23-MC-00034
 SMARTMATIC INTERNATIONAL                             )
 HOLDING B.V., AND SGO                                )   JUDGE MARK S. NORRIS
 CORPORATION LIMITED,                                 )
                                                      )   MAGISTRATE JUDGE ANNIE T.
                         Petitioners,                 )   CHRISTOFF
                                                      )
         vs.                                          )   L.R. 7.2(A)(1)(B) CERTIFICATE
                                                      )
 BRANNON HOWSE,                                       )
                                                      )   Related to Action Pending in the U.S. District
                         Respondent.                  )   Court of the District of Minnesota, Smartmatic
                                                      )   USA Corp., et al. v. Lindell, et al., 22-cv-
                                                      )   00098-JMB-JFD
                                                      )
                                                      )


         I, James R. Bedell, counsel for Smartmatic1 hereby affirm that I reached out to Aubrey B.

 Greer, counsel for Respondent Brannon Howse, on May 1, 2024 via email to inquire as to

 Respondent Brannon Howse’s position on Smartmatic’s Motion for Status Conference and to

 request counsel’s availability to meet and confer if the motion was opposed. When Mr. Greer did

 not respond, I reached out again on May 3, 2024, again asking for counsel’s availability. In my

 May 3, 2024 email, I noted that Smartmatic had limited time to resolve the dispute with Mr.

 Howse, and if we did not hear from him by the end of day on May 6, 2024, Smartmatic would file

 its motion. Counsel did not respond to my request.




 1
   Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation Limited are collectively
 referred to as “Smartmatic.”
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 Dated: May 7, 2024                 Respectfully submitted,

                                       s/ James R. Bedell
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